     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Middle                District of _________________
             District of Pennsylvania  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Rebel  Arms Corp.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           Rebel  Army
                                            ______________________________________________________________________________________________________
      in the last 8 years                   Rebel  Arms
                                            ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               67 Mill Creek Road                                       _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               East Stroudsburg              PA    18301
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Monroe County
                                            ______________________________________________
                                            County
                                                                                                        818 Interchange Rd
                                                                                                        _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        Kresgeville                PA      18333
                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 rebelarms.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1

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                                                       Main Document    Page 1 of 57
                Rebel Arms Corp.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                             _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       ✔  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                         
                                                         ✔    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                             in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2

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              Rebel Arms Corp.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000
                                             ✔
                                                                               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3

           Case 5:19-bk-01175-RNO                       Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                        Desc
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               Rebel Arms Corp.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million
                                            ✔
                                                                                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              03/25/2019
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Thomas Patti
                                                _____________________________________________               Thomas Patti
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Patrick Best
                                                _____________________________________________              Date         03/25/2019
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Patrick Best
                                                _________________________________________________________________________________________________
                                                Printed name
                                                ARM Lawyers
                                                _________________________________________________________________________________________________
                                                Firm name
                                                18 N. 8th St.
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Stroudsburg
                                                ____________________________________________________            PA             18360
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                570-424-6899
                                                ____________________________________                              patrick@armlawyers.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                309732                                                          PA
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4

           Case 5:19-bk-01175-RNO                       Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                       Desc
                                                        Main Document    Page 4 of 57
 Fill in this information to identify the case:

                Rebel Arms Corp.
  Debtor name _________________________________________________________________

                                          Middle District of Pennsylvania
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                 12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         386,722.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           386,722.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                           40,000.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          711,731.91



4. Total liabilities ...........................................................................................................................................................................          751,731.91
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




           Case
  Official Form    5:19-bk-01175-RNO
                206Sum          Summary ofDoc  1andFiled
                                          Assets           03/25/19
                                                   Liabilities              Entered
                                                               for Non-Individuals                                                                               03/25/19 15:26:31                       Desc
                                                                                                                                                                                                         page 1
                                                                                 Main Document                                 Page 5 of 57
      Fill in this information to identify the case:

                    Rebel Arms Corp.
      Debtor name __________________________________________________________________

                                              Middle District of Pennsylvania
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):     _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     Business Backer, LLC                                                 Monies Loaned /         Disputed
1    10856 Reed Hartman Highway                                           Advanced
     Suite 100
                                                                                                                                                       42,770.58
     Cincinnati, OH, 45242


     Clearant LLC                             314-449-8506                Services                Disputed
2    222 S Central Ave
     #700
                                                                                                                                                       39,536.00
     Clayton, MO, 63105

     Jason Troxell                                                        Monies Loaned /         Disputed
3    133 Steele Road                                                      Advanced
                                                                                                                                                       36,000.00
     Plymouth, PA, 18651


     Michael Pittenger                                                    Monies Loaned /
4    500 East Las Olas Blvd.                                              Advanced
     Apt 3301                                                                                                                                          31,000.00
     Fort Lauderdale, FL, 33301


     PNC Bank                                 888-514-9121                Monies Loaned /         Disputed
5    249 Fifth Avenue,                                                    Advanced
     One PNC Plaza                                                                                                                                     17,149.00
     Pittsburgh, PA, 15222

     The Armory                               610-681-4867                Monies Loaned /
6    818 Interchange Rd.                                                  Advanced
                                                                                                                                                       13,000.00
     Kresgeville, PA, 18333


     GSD Coatings                                                         Suppliers or Vendors    Disputed
7    2 Industrial Dr
     Suite G                                                                                                                                           10,229.56
     Keyport, NJ, 7735

     Chase                                    800-945-2028                Credit Card Debt        Disputed
8    PO Box 15123
     Wilmington, DE, 19850                                                                                                                             5,291.07




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
              Case 5:19-bk-01175-RNO                     Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                        Desc
                                                         Main Document    Page 6 of 57
                     Rebel Arms Corp.
    Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                    Name




     Name of creditor and complete            Name, telephone number,      Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of         (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact             debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated,   total claim amount and deduction for value of
                                                                           services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     Capital One                             800-955-6600                Credit Card Debt         Disputed
9    PO Box 30281
     Salt Lake City, UT, 84130                                                                                                                          5,060.35


     EOTech, Inc.                            734-527-2233                Suppliers or Vendors     Disputed
10 1201 E. Ellsworth                         Cheryl.poore@l3t.com
                                                                                                                                                        4,974.00
     Ann Arbor, MI, 48108


     Sweetwater Police Department                                        Deposit for Product
11 500 SW 109th Ave
     Miami, FL, 33174                                                                                                                                   4,168.78


     American Express                        866-797-6780                Services                 Disputed
12 Global Merchant Services
     PO Box 299051                                                                                                                                      3,930.21
     Fort Lauderdale, FL, 33329


     Jeff Sladkus, Esq.                      404-252-0900                Services
13 444 Madison Avenue,
     6th Floor                                                                                                                                          3,215.00
     New York, NY, 10022

     Clearant LLC                                                        Services                 Disputed
14 222 S Central Ave
     #700                                                                                                                                               2,977.00
     Clayton, MO, 63105

     PNC Bank                                617-581-1073                Overdrawn Bank           Disputed
15 249 Fifth Avenue,                                                     Account
     One PNC Plaza
                                                                                                                                                        2,701.23
     Pittsburgh, PA, 15222

     Aetna                                                               Services                 Disputed
16 PO Box 67103
                                                                                                                                                        2,629.58
     Harrisburg, PA, 17106

     PayPal Inc.                                                         Services                 Disputed
17 2211 North First Street
     San Jose, CA, 95131
                                                                                                                                                        2,281.59


     Barclays                                                            Credit Card Debt         Disputed
18 Card Services
     P.O. Box 8801                                                                                                                                      2,215.03
     Wilmington, DE, 19899-8801

     IPFS Corporation                                                    Services                 Disputed
19 30 Montgomery St.
     #501
     Jersey City, NJ, 07302                                                                                                                             2,036.88


     Jessup Police Department                                            Deposit for Product
20 395 Lane St
     Jessup, PA, 18434                                                                                                                                  2,014.67




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
                Case 5:19-bk-01175-RNO                   Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                        Desc
                                                         Main Document    Page 7 of 57
  Fill in this information to identify the case:

               Rebel Arms Corp.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Middle District of Pennsylvania
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

   ✔
            No. Go to Part 2.
           Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
    3.1. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Rental Security Deposit
    7.1. ________________________________________________________________________________________________________                   1,125.00
                                                                                                                                  $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


                                                          Schedule A/B: Assets  Real and Personal Property
   Official Form 206A/B
              Case 5:19-bk-01175-RNO                    Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                  Descpage 1
                                                        Main Document          Page 8 of 57
Debtor           Rebel Arms Corp.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                     1,125.00
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



                                                            Schedule A/B: Assets  Real and Personal Property
Official Form 206A/B
            Case 5:19-bk-01175-RNO                        Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                  Descpage 2
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                   Rebel Arms Corp.
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
                                                                                                            Wholesale Cost              28,000.00
     Various parts
    ________________________________________            ______________
                                                                                 $__________________       ______________________     $______________________
                                                        MM / DD / YYYY

20. Work in progress
                                                                                                            MSRP upon completion7,000.00
     Various weapons in progress
    ________________________________________            ______________
                                                                                 $__________________       ______________________     $______________________
                                                        MM / DD / YYYY

21. Finished goods, including goods held for resale
                                                                                                            MSRP                        20,000.00
     Various weapons and parts for retail
    ________________________________________
                                                        03/19/2019
                                                      sale
                                                       ______________                                                                 $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________            ______________                                                                $______________________
                                                        MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     55,000.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


                                                           Schedule A/B: Assets  Real and Personal Property
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            Case 5:19-bk-01175-RNO                       Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                      Descpage 3
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                Rebel Arms Corp.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Misc. Office Furniture (desks, computers, filing cabinets, etc.)
                                                                                  $________________     ____________________        3,500.00
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                     3,500.00
                                                                                                                                   $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
                                                          Schedule A/B: Assets  Real and Personal Property
Official Form 206A/B
            Case 5:19-bk-01175-RNO                      Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                    Descpage 4
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                  Rebel Arms Corp.
 Debtor          _______________________________________________________                   Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2018 GMC 1500
    47.1___________________________________________________________         $________________
                                                                                                    kbb.com
                                                                                                   ____________________         26,097.00
                                                                                                                              $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Various tools, equipment
    ______________________________________________________________         $________________       ____________________         6,000.00
                                                                                                                              $______________________


51. Total of Part 8.                                                                                                            32,097.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




                                                         Schedule A/B: Assets  Real and Personal Property
 Official Form 206A/B
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                   Rebel Arms Corp.
 Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                    Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as     of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property      in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                      $_______________      ____________________        $_____________________

55.2

                                                                                      $_______________      ____________________        $_____________________

55.3

                                                                                      $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                        $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                           Net book value of     Valuation method             Current value of
                                                                                      debtor's interest     used for current value       debtor’s interest
                                                                                      (Where available)
60. Patents, copyrights, trademarks, and trade secrets
                                                                                                                                           Unknown
       Rebel Arms Corp., Rebel Arms, Rebel Army - Trademarks $_________________
       ______________________________________________________________                                        ______________________      $____________________

61. Internet domain names and websites
                                                                                        0.00                                               Unknown
       rebelarms.com
       ______________________________________________________________                 $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                 $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       Customer List                                                                                                                       Unknown
       ______________________________________________________________                 $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                  $________________     _____________________       $____________________
65. Goodwill
                                                                                       $________________     _____________________
                                                                                                                                           Unknown
       Goodwill
       ______________________________________________________________                                                                    $____________________

66. Total of Part 10.                                                                                                                      0.00
                                                                                                                                         $____________________
       Add lines 60 through 65. Copy the total to line 89.




                                                                 Schedule A/B: Assets  Real and Personal Property
 Official Form 206A/B
             Case 5:19-bk-01175-RNO                            Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                 Descpage 6
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Debtor            Rebel Arms Corp.
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    
    ✔     No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                      Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Potential claim against El Hefe, Inc.
    ______________________________________________________________                                                                     220,000.00
                                                                                                                                     $_______________________
    Nature of claim                     Breach of Contract
                                       ___________________________________

    Amount requested                     220,000.00
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Avoidable Preferences
    ______________________________________________________________                                                                     75,000.00
                                                                                                                                     $_______________________

    Nature of claim                     Avoidable Preferences
                                       ___________________________________

    Amount requested                     75,000.00
                                       $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________
78. Total of Part 11.
                                                                                                                                       295,000.00
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes

                                                              Schedule A/B: Assets  Real and Personal Property
Official Form 206A/B
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                   Rebel Arms Corp.
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         0.00
                                                                                                       $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                         1,125.00
                                                                                                       $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                         0.00
                                                                                                       $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                         0.00
                                                                                                       $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                         55,000.00
                                                                                                       $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                         0.00
                                                                                                       $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                         3,500.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         32,097.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                  +      295,000.00
                                                                                                       $_______________
90. All other assets. Copy line 78, Part 11.

                                                                                                         386,722.00                           0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                                        386,722.00                                                                386,722.00
                                                                                                                                                                 $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................




                                                                     Schedule A/B: Assets  Real and Personal Property
Official Form 206A/B
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                                                                  Main Document           Page 15 of 57
  Fill in this information to identify the case:
              Rebel Arms Corp.
  Debtor name __________________________________________________________________
                                          ______________________
  United States Bankruptcy Court for the: Middle                 District of _________
                                                 District of Pennsylvania
                                                                                         (State)

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Ally Financial                                              2018 GMC 1500
      __________________________________________                                                                                   40,000.00
                                                                                                                                 $__________________          26,097.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      1185 6th Ave,
      ________________________________________________________
      New York, NY 10036
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   6787
                             _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                 $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    40,000.00
                                                                                                                                  $________________
    Page, if any.
            Case
   Official Form    5:19-bk-01175-RNO
                 206D            Schedule D:Doc  1 Who
                                            Creditors Filed 03/25/19
                                                         Have              Entered
                                                              Claims Secured          03/25/19
                                                                             by Property                                                  15:26:31           Desc      2
                                                                                                                                                             page 1 of ___
                                                                 Main Document                     Page 16 of 57
Debtor
               Rebel Arms Corp.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                 Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        page ___
                                                                                                                                                    2 of ___
                                                                                                                                                         2
            Case 5:19-bk-01175-RNO              Doc 1 Filed 03/25/19 Entered 03/25/19 15:26:31                                                Desc
                                              Main Document             Page 17 of 57
      Fill in this information to identify the case:

      Debtor
                      Rebel Arms Corp.
                      __________________________________________________________________

                                              Middle District of Pennsylvania
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
      
      ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________
                                                                                                              Unknown
    Various Customers who paid for and did not                                                                                         $_________________
                                                               Check all that apply.
    receive product.                                              Contingent
    Customer list to be provided and Schedule E to                Unliquidated
    be updated as soon as possible.                               Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred                           Deposits by individuals
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                      ✔ No

                                                                Yes
      Specify Code subsection of PRIORITY unsecured
                                  7
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)



             Case
  Official Form     5:19-bk-01175-RNOSchedule
                206E/F                   DocE/F:
                                              1 Creditors
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                                                          Who Have Unsecured      03/25/19
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               Rebel Arms Corp.
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    ADT Security Services                                                                                                      297.99
                                                                                                                             $________________________________
                                                                              Contingent
    PO Box 650485                                                             Unliquidated
                                                                           
                                                                           ✔
                                                                               Disputed
    Dallas, TX, 75265                                                                              Services
                                                                           Basis for the claim:



    Date or dates debt was incurred            3/1/19
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            6167
                                               ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Aetna                                                                  Check all that apply.                               2,629.58
                                                                                                                             $________________________________
    PO Box 67103                                                              Contingent
                                                                              Unliquidated
    Harrisburg, PA, 17106                                                  
                                                                           ✔   Disputed
                                                                           Basis for the claim:
                                                                                                   Services


    Date or dates debt was incurred            2/2019
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            8631
                                               __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    American Express                                                                                                           3,930.21
                                                                                                                             $________________________________
                                                                              Contingent
    Global Merchant Services                                                  Unliquidated
    PO Box 299051                                                          
                                                                           ✔   Disputed
    Fort Lauderdale, FL, 33329
                                                                           Basis for the claim:
                                                                                                   Services

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            1586
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Axem Distributing Inc.                                                 Check all that apply.
                                                                                                                               Unknown
                                                                                                                             $________________________________
    PO Box 1495                                                               Contingent
                                                                              Unliquidated
    Gallatin, TN, 37066-1495                                               
                                                                           ✔   Disputed
                                                                            Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Azimuth Technology                                                                                                         Unknown
                                                                                                                             $________________________________
                                                                           Check all that apply.
    10130 Market St.                                                          Contingent
                                                                              Unliquidated
    Naples, FL, 34112                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Barclays                                                                                                                   2,215.03
                                                                                                                             $________________________________
                                                                           Check all that apply.
    Card Services                                                             Contingent
    P.O. Box 8801                                                             Unliquidated
    Wilmington, DE, 19899-8801                                             
                                                                           ✔   Disputed
                                                                           Basis for the claim:    Credit Card Debt

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes


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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             157.93
                                                                                                                    $________________________________
 Blue Ridge Communications                                             Contingent
 PO Box 316                                                            Unliquidated
 Palmerton, PA, 18071                                               
                                                                    ✔   Disputed

                                                                    Basis for the claim: Telephone / Internet services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      7575
                                             ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 Bootleg Inc
 2334 N Welford PL                                                     Contingent
                                                                       Unliquidated
 Boise, ID, 83704                                                      Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Business Backer, LLC                                               Check all that apply.
                                                                                                                     42,770.58
                                                                                                                    $________________________________
 10856 Reed Hartman Highway                                            Contingent
 Suite 100                                                             Unliquidated
 Cincinnati, OH, 45242                                              
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________
                                             5299                   
                                                                    ✔
                                                                        No
                                                                       Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     5,060.35
                                                                                                                    $________________________________
 Capital One                                                        Check all that apply.
 PO Box 30281                                                          Contingent
 Salt Lake City, UT, 84130                                             Unliquidated
                                                                    
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                             2901                
                                                                 ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Chase                                                              Check all that apply.
                                                                                                                      5,291.07
                                                                                                                    $________________________________
 PO Box 15123                                                          Contingent
 Wilmington, DE, 19850                                                 Unliquidated
                                                                    
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Credit Card Debt



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________
                                             7056                      Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
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                                                              Who Have Unsecured      03/25/19
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  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             39,536.00
                                                                                                                    $________________________________
 Clearant LLC                                                          Contingent
 222 S Central Ave                                                     Unliquidated
 #700                                                               
                                                                    ✔   Disputed
 Clayton, MO, 63105
                                                                    Basis for the claim: Services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      4602
                                             ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2,977.00
                                                                                                                    $________________________________
 Clearant LLC
 222 S Central Ave                                                     Contingent
 #700                                                                  Unliquidated
 Clayton, MO, 63105                                                 
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      4037
                                             ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Craddock Precision                                                 Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 414 S. Grove Street                                                   Contingent
                                                                       Unliquidated
 Lexington, IL, 61753                                                  Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     4,974.00
                                                                                                                    $________________________________
 EOTech, Inc.                                                       Check all that apply.
 1201 E. Ellsworth                                                     Contingent
                                                                       Unliquidated
 Ann Arbor, MI, 48108                                               
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Forward Controls Design                                            Check all that apply.
                                                                                                                      564.58
                                                                                                                    $________________________________
 17104 Palisades Circle                                                Contingent
                                                                       Unliquidated
 Pacific Palisades, CA, 90272                                          Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
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Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             1,080.00
                                                                                                                    $________________________________
 Griffin Armament                                                      Contingent
 801 South 12th St                                                     Unliquidated
                                                                       Disputed
 Watertown, WI, 53094
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      10,229.56
                                                                                                                    $________________________________
 GSD Coatings
 2 Industrial Dr                                                       Contingent
 Suite G                                                               Unliquidated
 Keyport, NJ, 7735                                                  
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 IPFS Corporation                                                   Check all that apply.
                                                                                                                     2,036.88
                                                                                                                    $________________________________
 30 Montgomery St.                                                     Contingent
 #501                                                                  Unliquidated
 Jersey City, NJ, 07302                                             
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________
                                             6661                   
                                                                    ✔
                                                                        No
                                                                       Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     362,000.00
                                                                                                                    $________________________________
 Jane Joseph                                                        Check all that apply.
 117 Joseph Lane                                                       Contingent
 East Stroudsburg, PA, 18301                                           Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Jason Troxell                                                      Check all that apply.
                                                                                                                      36,000.00
                                                                                                                    $________________________________
 133 Steele Road                                                       Contingent
                                                                       Unliquidated
 Plymouth, PA, 18651                                                
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
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                                                              Who Have Unsecured      03/25/19
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             3,215.00
                                                                                                                    $________________________________
 Jeff Sladkus, Esq.                                                    Contingent
 444 Madison Avenue,                                                   Unliquidated
 6th Floor                                                             Disputed
 New York, NY, 10022
                                                                    Basis for the claim: Services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      2,014.67
                                                                                                                    $________________________________
 Jessup Police Department
 395 Lane St                                                           Contingent
 Jessup, PA, 18434                                                     Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Deposit for Product



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Kenneth Ladlee                                                     Check all that apply.
                                                                                                                     25,000.00
                                                                                                                    $________________________________
 910 Potomac St.                                                       Contingent
 Mt. Bethel, PA, 18342                                                 Unliquidated
                                                                       Disputed
                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     1,525.00
                                                                                                                    $________________________________
 Kirk Summa & Company                                               Check all that apply.
 1, Dansbury Terrace                                                   Contingent
                                                                       Unliquidated
 East Stroudsburg, PA, 18301                                        
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Michael Pittenger                                                  Check all that apply.
                                                                                                                      31,000.00
                                                                                                                    $________________________________
 500 East Las Olas Blvd.                                               Contingent
 Apt 3301                                                              Unliquidated
 Fort Lauderdale, FL, 33301                                            Disputed
                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
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                                                  1 Creditors
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                                                              Who Have Unsecured      03/25/19
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                 Name



Pa rt 2 :     Addit iona l Pa ge


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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             332.25
                                                                                                                    $________________________________
 Mission First Tactical                                                Contingent
 411 Caredean Dr                                                       Unliquidated
 Ste. E                                                                Disputed
 Horsham, PA, 19044
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      0.00
                                                                                                                    $________________________________
 National Revenue Center, TTB
 Excise Tax                                                            Contingent
 P.O. Box 979055                                                       Unliquidated
 Saint Louis, MO, 63197                                                Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Patriot Cases                                                      Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 118 Cypress Pointe                                                    Contingent
                                                                       Unliquidated
 Smithfield, NC, 27577                                                 Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     556.70
                                                                                                                    $________________________________
 Paychex of New York, LLC                                           Check all that apply.
 1550 Pond Road                                                        Contingent
 Suite 302                                                             Unliquidated
 Allentown, PA, 18104                                               
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                             8281                
                                                                 ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 PayPal Inc.                                                        Check all that apply.
                                                                                                                      1,215.00
                                                                                                                    $________________________________
 2211 North First Street                                               Contingent
 San Jose, CA, 95131                                                   Unliquidated
                                                                    
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Services



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
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                                                              Who Have Unsecured      03/25/19
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  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             2,281.59
                                                                                                                    $________________________________
 PayPal Inc.                                                           Contingent
 2211 North First Street                                               Unliquidated
 San Jose, CA, 95131                                                
                                                                    ✔   Disputed

                                                                    Basis for the claim: Services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      81,000.00
                                                                                                                    $________________________________
 Peter Joseph
 50 Club Court                                                         Contingent
 Stroudsburg, PA, 18360                                                Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 PNC Bank                                                           Check all that apply.
                                                                                                                     1,814.28
                                                                                                                    $________________________________
 249 Fifth Avenue,                                                     Contingent
 One PNC Plaza                                                         Unliquidated
 Pittsburgh, PA, 15222                                              
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Overdrawn Bank Account



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________
                                             6006                   
                                                                    ✔
                                                                        No
                                                                       Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     2,701.23
                                                                                                                    $________________________________
 PNC Bank                                                           Check all that apply.
 249 Fifth Avenue,                                                     Contingent
 One PNC Plaza                                                         Unliquidated
 Pittsburgh, PA, 15222                                              
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Overdrawn Bank Account



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                             6022                
                                                                 ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 PNC Bank                                                           Check all that apply.
                                                                                                                      17,149.00
                                                                                                                    $________________________________
 249 Fifth Avenue,                                                     Contingent
 One PNC Plaza                                                         Unliquidated
 Pittsburgh, PA, 15222                                              
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________
                                             4442                      Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
                     206E/F                  DocE/F:
                                                  1 Creditors
                                                     Filed 03/25/19       Entered
                                                              Who Have Unsecured      03/25/19
                                                                                 Claims                             15:26:31         Descpage __
                                                                                                                                              8 of ___
                                                                                                                                                    13
                                                   Main Document                Page 25 of 57
                 Rebel Arms Corp.
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 Primary Weapons Systems, Inc.                                         Contingent
 255 N. Steelhead Way                                                  Unliquidated
                                                                       Disputed
 Boise, ID, 83704
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      585.20
                                                                                                                    $________________________________
 Progressive
 PO Box 94739                                                          Contingent
                                                                       Unliquidated
 Cleveland, OH, 44101                                               
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Services



        Date or dates debt was incurred       1/2019
                                             ___________________    Is the claim subject to offset?
        Last 4 digits of account number      3311
                                             ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Radian Weapons                                                     Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 875 NE Kingwood Ave                                                   Contingent
                                                                       Unliquidated
 Redmond, OR, 97756                                                    Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 RailScales LLC                                                     Check all that apply.
 PO Box 2845                                                           Contingent
                                                                       Unliquidated
 Caremore, OK, 74018                                                   Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 RSR Group, Inc.                                                    Check all that apply.
                                                                                                                      Unknown
                                                                                                                    $________________________________
 4405 Metric Drive                                                     Contingent
                                                                       Unliquidated
 Winter Park, FL, 32792                                             
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       9/2018
                                             ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________
                                             3505                      Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
                     206E/F                  DocE/F:
                                                  1 Creditors
                                                     Filed 03/25/19       Entered
                                                              Who Have Unsecured      03/25/19
                                                                                 Claims                             15:26:31         Descpage __
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                                                                                                                                                    13
                                                   Main Document                Page 26 of 57
                 Rebel Arms Corp.
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             Unknown
                                                                                                                    $________________________________
 SilencerCo LLC                                                        Contingent
 5511 South 6055 West                                                  Unliquidated
                                                                       Disputed
 West Valley City, UT, 84118
                                                                    Basis for the claim: Suppliers or Vendors



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      240.00
                                                                                                                    $________________________________
 Streamline Storage
 166 Progress St.                                                      Contingent
 East Stroudsburg, PA, 18301                                           Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Stroudsburg Parking Enforcement                                    Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
 700 Sarah St.                                                      
                                                                    ✔
                                                                        Contingent
 Stroudsburg, PA, 18360                                             
                                                                    ✔
                                                                        Unliquidated
                                                                    
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Parking Ticket



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________     
                                                                    ✔
                                                                        No
                                                                       Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     4,168.78
                                                                                                                    $________________________________
 Sweetwater Police Department                                       Check all that apply.
 500 SW 109th Ave                                                      Contingent
 Miami, FL, 33174                                                      Unliquidated
                                                                       Disputed

                                                                    Basis for the claim: Deposit for Product



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 The Armory                                                         Check all that apply.
                                                                                                                      13,000.00
                                                                                                                    $________________________________
 818 Interchange Rd.                                                   Contingent
                                                                       Unliquidated
 Kresgeville, PA, 18333                                                Disputed
                                                                    Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
                     206E/F                  DocE/F:
                                                  1 Creditors
                                                     Filed 03/25/19       Entered
                                                              Who Have Unsecured      03/25/19
                                                                                 Claims                             15:26:31         Descpage __
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                 Rebel Arms Corp.
  Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                 Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                         Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             700.37
                                                                                                                    $________________________________
 UPS                                                                   Contingent
 55 Glenlake Parkway NE                                                Unliquidated
                                                                    
                                                                    ✔   Disputed
 Atlanta, GA, 30328
                                                                    Basis for the claim: Services



                                                                    Is the claim subject to offset?
        Date or dates debt was incurred      ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
        Last 4 digits of account number      94A0
                                             ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                      959.92
                                                                                                                    $________________________________
 Verizon
 PO Box 489                                                            Contingent
                                                                       Unliquidated
 Newark, NJ, 07101                                                  
                                                                    ✔
                                                                        Disputed

                                                                    Basis for the claim: Telephone / Internet services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      0213
                                             ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
 Verizon PA                                                         Check all that apply.
                                                                                                                     522.16
                                                                                                                    $________________________________
 PO Box 28000                                                          Contingent
 Lehigh Valley, PA, 18002                                              Unliquidated
                                                                    
                                                                    ✔
                                                                        Disputed
                                                                    Basis for the claim: Telephone / Internet services



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
        Last 4 digits of account number      __________________
                                             0114                   
                                                                    ✔
                                                                        No
                                                                       Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                                                                     Unknown
                                                                                                                    $________________________________
 Weapon Works LLC                                                   Check all that apply.
 1833 Anthony Road                                                     Contingent
 Suite A                                                               Unliquidated
 Burlington, NC, 27215                                                 Disputed

                                                                    Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred      ___________________    Is the claim subject to offset?
                                                                    
                                                                    ✔
                                                                        No
        Last 4 digits of account number      ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



        Date or dates debt was incurred      ____________________   Is the claim subject to offset?
                                                                       No
        Last 4 digits of account number      ___________________       Yes




                Case
       Official Form    5:19-bk-01175-RNOSchedule
                     206E/F                  DocE/F:
                                                  1 Creditors
                                                     Filed 03/25/19       Entered
                                                              Who Have Unsecured      03/25/19
                                                                                 Claims                             15:26:31          Descpage __
                                                                                                                                               11 of ___
                                                                                                                                                      13
                                                   Main Document                Page 28 of 57
                    Rebel Arms Corp.
     Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          American Coradius International, LLC
4.1.      35A Rust Lane                                                                             3.31
                                                                                               Line _____
          Boerne, TX, 78006                                                                                                                     ________________
                                                                                                    Not listed. Explain:


          Credit Collection Services
4.2.
          725 Canton Street                                                                    Line 3.3
                                                                                                    _____
          Norwood, MA, 02062                                                                      Not listed. Explain                          ________________



          Credit Collection Services                                                                3.34
4.3.                                                                                           Line _____
          725 Canton Street
          Norwood, MA, 02062                                                                      Not listed. Explain                          ________________


          CST Co.
4.4.      PO Box 33127                                                                              3.41
                                                                                               Line _____
          Louisville, KY, 40232                                                                                                                 ________________
                                                                                                  Not listed. Explain

          Jeffrey R. Pfirrman
41.       Graydon Head & Ritchey LLP                                                                3.9
                                                                                               Line _____
          312 Walnut Street, Suite 1800                                                                                                         ________________
          Cincinnati, OH, 45202
                                                                                                  Not listed. Explain

          The Receivable Management Services LLC
4.5.      PO Box 361348
                                                                                                    3.47
                                                                                               Line _____
          Columbus, OH, 43236                                                                     Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




                Case
       Official Form    5:19-bk-01175-RNOSchedule
                     206E/F                  DocE/F:
                                                  1 Creditors
                                                     Filed 03/25/19       Entered
                                                              Who Have Unsecured      03/25/19
                                                                                 Claims                                          15:26:31          Descpage __     13
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                                                           Main Document                  Page 29 of 57
               Rebel Arms Corp.
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       711,731.91
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          711,731.91
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




            Case
   Official Form    5:19-bk-01175-RNOSchedule
                 206E/F                  DocE/F:
                                              1 Creditors
                                                 Filed 03/25/19       Entered
                                                          Who Have Unsecured      03/25/19
                                                                             Claims                               15:26:31         Descpage __
                                                                                                                                            13 of ___
                                                                                                                                                   13
                                                  Main Document              Page 30 of 57
 Fill in this information to identify the case:

             Rebel Arms Corp.
 Debtor name __________________________________________________________________

                                         Middle District of Pennsylvania
 United States Bankruptcy Court for the:_____________________________

 Case number (If known):     _________________________                        11
                                                                      Chapter _____



                                                                                                                                          Check if this is an
                                                                                                                                             amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
           No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       
       ✔
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                State the name and mailing address for all other parties with
                                                                                           whom the debtor has an executory contract or unexpired lease
                                         Asset Purchase Agreement                         El Hefe, Inc.
           State what the contract or    Lessor                                           6 Tiffany Drive
 2.1       lease is for and the nature
           of the debtor’s interest
                                                                                          Scranton, PA, 18505

           State the term remaining
           List the contract number of
           any government contract

                                         Commercial Lease                                 Francisco Marque
           State what the contract or    Lessee                                           65 Mill Creek Road
 2.2       lease is for and the nature
           of the debtor’s interest                                                       East Stroudsburg, PA, 18301

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.3       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.4
           lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract


           State what the contract or
 2.5       lease is for and the nature
           of the debtor’s interest

           State the term remaining
           List the contract number of
           any government contract




           Case
Official Form 206G5:19-bk-01175-RNO      Doc
                                Schedule G:    1 Filed
                                            Executory       03/25/19
                                                      Contracts           Entered
                                                                and Unexpired Leases                          03/25/19 15:26:31               Desc       1
                                                                                                                                              page 1 of ___
                                                        Main Document                 Page 31 of 57
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Rebel Arms Corp.

                                         Middle District of Pennsylvania
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):   _________________________




                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      
      ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

       Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                            Check all schedules
           Name                      Mailing address                                                     Name
                                                                                                                                            that apply:
                                    Thomas Patti
2.1     Thomas Patti
        _____________________                                                                            Ally Financial
                                                                                                         _____________________              ✔ D
                                                                                                                                            
                                    67 Mill Creek Road
                                                                                                                                             E/F
                                    East Stroudsburg, PA, 18301                                                                              G




2.2                                 Thomas Patti
        Thomas Patti
        _____________________                                                                            Streamline  Storage
                                                                                                         _____________________               D
                                    67 Mill Creek Road
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    East Stroudsburg, PA, 18301                                                                              G




2.3                                 Thomas Patti
        Thomas Patti
        _____________________       67 Mill Creek Road                                                   Verizon  PA
                                                                                                         _____________________               D
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    East Stroudsburg, PA, 18301
                                                                                                                                             G



2.4
                                    Peter Joseph
        Peter Joseph
        _____________________       50 Club Court                                                        Chase
                                                                                                         _____________________               D
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    Stroudsburg, PA, 18360
                                                                                                                                             G



2.5                                 Peter Joseph
        Peter Joseph
        _____________________                                                                            Clearant  LLC                       D
                                    50 Club Court                                                        _____________________
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    Stroudsburg, PA, 18360                                                                                   G




2.6                                 Thomas Patti
        Thomas Patti
        _____________________                                                                            Clearant  LLC
                                                                                                         _____________________               D
                                    67 Mill Creek Road
                                                                                                                                            ✔ E/F
                                                                                                                                            
                                    East Stroudsburg, PA, 18301                                                                              G




           Case
Official Form 206H5:19-bk-01175-RNO                     Doc 1Schedule
                                                                FiledH:03/25/19
                                                                       Codebtors Entered 03/25/19 15:26:31                                   Desc       2
                                                                                                                                             page 1 of ___
                                                       Main Document       Page 32 of 57
               Rebel Arms Corp.
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___                            Peter Joseph
          Peter Joseph
          _____________________                                                              Clearant  LLC
                                                                                              _____________________            D
                                  50 Club Court
                                                                                                                              ✔ E/F
                                                                                                                              
                                  Stroudsburg, PA, 18360                                                                       G




   8
 2.___                            Thomas Patti
          Thomas Patti
          _____________________   67 Mill Creek Road                                         Clearant  LLC
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  East Stroudsburg, PA, 18301
                                                                                                                               G




   9
 2.___                            Thomas Patti
          Thomas Patti
          _____________________   67 Mill Creek                                              Capital  One
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  East Stroudsburg, PA, 18301
                                                                                                                               G




   10
 2.___                            Thomas Patti
          Thomas Patti
          _____________________                                                              Barclays
                                                                                              _____________________            D
                                  67 Mill Creek Road
                                                                                                                              ✔ E/F
                                                                                                                              
                                  East Stroudsburg, PA, 18301
                                                                                                                               G




   11
 2.___                            Thomas Patti
          Thomas Patti
          _____________________   67 Mill Creek Road                                         PayPal   Inc.
                                                                                              _____________________            D
                                                                                                                              ✔ E/F
                                                                                                                              
                                  East Stroudsburg, PA, 18301
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




 2.___
          _____________________                                                               _____________________            D
                                                                                                                               E/F
                                                                                                                               G




          Case
 Official Form    5:19-bk-01175-RNO
               206H                                   DocSchedule
                                                          1 Filed     03/25/19 Entered 03/25/19 15:26:31
                                                                  H: Codebtors                                                  Desc
                                                                                                                                page ___
                                                                                                                                      2 of ___
                                                                                                                                            2
                                                     Main Document          Page 33 of 57
 Fill in this information to identify the case and this filing:

              Rebel Arms Corp.
 Debtor Name __________________________________________________________________

                                         Middle District of Pennsylvania
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    03/25/2019
        Executed on ______________                          /s/ Thomas Patti
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Thomas Patti
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors

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Fill in this information to identify the case:
             Rebel Arms Corp.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Middle                      District of _________
                                               District of Pennsylvania
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✔   Operating a business
                                                                                                                                                     0.00
                                                 01/01/2019
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date            Other _______________________    $_____________________


           For prior year:                       01/01/2018
                                           From ___________         to     12/31/2018
                                                                           ___________         
                                                                                               ✔   Operating a business                        350,000.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:             01/01/2017
                                           From ___________         to     12/31/2017
                                                                           ___________         
                                                                                               ✔   Operating a business                        858,214.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

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                 Rebel Arms Corp.
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              Jason Troxell
             __________________________________________
                                                            12/21/18
                                                              ________         36,000.00
                                                                              $_________________                 Secured debt
             Creditor’s name
              133 Steele Road
                                                                                                                 Unsecured loan repayments
              Plymouth, PA 18651                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                      
                                                                                                            ✔            Monies Loaned / Advanced
                                                                                                                  Other _______________________________


     3.2.

              Clearant LLC                                    ________         8,000.00
                                                                              $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              222 S Central Ave
              #700                                            ________                                           Suppliers or vendors
              Clayton, MO 63105                                                                             
                                                                                                            ✔     Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2

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                 Rebel Arms Corp.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Francisco Marques v. Rebel Arms,                                                 Monroe County Magisterial District Court
     7.1.   Thomas A Patti                           LL/T                                                                                      
                                                                                                                                               ✔   Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded


      MJ-43302-LT-0000030-2019
             _________________________________

             Case title                                                                       Court or agency’s name and address
            Commonwealth of Pennsylvania v.                                                  Monroe County Magisterial District Court          
                                                                                                                                               ✔   Pending
     7.2.
            Rebel Arms Corp                                                                                                                       On appeal

             Case number
                                                                                                                                                  Concluded
                                                     Traffic Ticket

      MJ-43201-TR-0001322-2019
             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3

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                 Rebel Arms Corp.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


            __________________________________________                                                                       _________________    $__________
     9.1.
            Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________    $__________
     9.2. Recipient’s name




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________    $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4

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                Rebel Arms Corp.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            ARM Lawyers
            __________________________________________
   11.1.                                                                                                                 3/20/19
                                                                                                                         ______________        7,000.00
                                                                                                                                             $_________
            Address




            Email or website address
            _________________________________

            Who made the payment, if not debtor?

            Peter Joseph
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5

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                Rebel Arms Corp.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6

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                 Rebel Arms Corp.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.    ________________________________________                                                                                     ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                            Electronically
                                                                                                                                            Paper

                                                             Nature of the business operation, including type of services the            If debtor provides meals
            Facility name and address                        debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7

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Debtor            Rebel Arms Corp.
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     PNC Bank
             ______________________________________             6022
                                                           XXXX–__________                 
                                                                                           ✔ Checking                  11/1/18
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     PNC Bank
             ______________________________________             6006
                                                           XXXX–__________                 
                                                                                           ✔ Checking                  11/1/18
                                                                                                                       ___________________        0.00
                                                                                                                                                $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                          Thomas Patti                                Misc. supplies                                   No
             Streamline Storage
             ______________________________________
            Name
                                                                                                                                                      
                                                                                                                                                      ✔ Yes

             166 Progress St.
             East Stroudsburg, PA 18301

                                                            Address
                                                          67 Mill Creek Road
                                                          East Stroudsburg, PA 18301




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              Rebel Arms Corp.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________
                                                     _____________________________________                                                        Pending
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                Rebel Arms Corp.
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   Rebel Arms Corp.
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Kirk Summa & Co LLP                                                                             From 01/01/2016
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name
              1, Dansbury Terrace, East Stroudsburg, PA 18301                                                 To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service

                                                                                                                   01/01/2016
                    Kirk Summa & Co LLP                                                                       From _______
         26b.1.     ______________________________________________________________________________
                    Name
                    1, Dansbury Terrace, East Stroudsburg, PA 18301                                           To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Kirk Summa & Co LLP
                    ______________________________________________________________________________
                    Name
                     1 Dansbury Terrace, East Stroudsburg, PA 18301




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11

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                    Rebel Arms Corp.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12

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                  Rebel Arms Corp.
Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




             Name of the person who supervised the taking of the inventory                    Date of            The dollar amount and basis (cost, market, or
                                                                                              inventory          other basis) of each inventory

             ______________________________________________________________________           _______        $___________________

             Name and address of the person who has possession of inventory records


   27.2.     ______________________________________________________________________
             Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

           Name                               Address                                                 Position and nature of any             % of interest, if any
                                                                                                      interest
            Thomas Patti                      67 Mill Creek Road, East Stroudsburg, PA 18301          President                                100
           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________

           ____________________________      _________________________________________________        ____________________________            _______________


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        No
     
     ✔     Yes. Identify below.
                                                 Address                                              Position and nature of           Period during which
             Name
                                                                                                      any interest                     position or interest was
                                                                                                                                       held
            Kenneth Ladlee                      910 Potomac St. Mt. Bethel Pa 18342                   Secretary; 16%
             ____________________________        _____________________________________________        ______________________          01/01/2015
                                                                                                                                       _________ To 08/01/2018
                                                                                                                                                    _________
                                                                                                      Shareholder
             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

             ____________________________        _____________________________________________        ______________________           _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.

             Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                      description and value of                                providing the value
                                                                                      property

             Thomas  Patti                                                            10,000.00                            6/1/18             Wages
   30.1.     ______________________________________________________________           _________________________            _____________
             Name
             67 Mill Creek Road
             East Stroudsburg, PA 18301                                                                                   5/1/18
                                                                                                                          _____________

                                                                                                                          4/1/18
                                                                                                                          _____________

             Relationship to debtor                                                                                       _____________
             Shareholder, Officer
             ______________________________________________________________                                               _____________

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13

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                   Rebel Arms Corp.
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       03/25/2019
                               _________________
                                MM / DD / YYYY



              /s/ Thomas Patti
              ___________________________________________________________                              Thomas Patti
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14

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               Rebel Arms Corp.
 Debtor Name                                                                 Case number (if known)



                                          Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Primary Weapons Systems,            $8,896.00                             Suppliers or vendors
Inc., 255 N. Steelhead
Way, Boise, ID 83704

Business Backer, LLC,               $31,000.00                            Monies loaned / advanced
10856 Reed Hartman
Highway Suite 100,
Cincinnati, OH 45242


7) Legal Actions

Primary Weapons Systems, Inc. v. Rebel Arms Corp.

8494 cv 2018

Monroe County Court of Common Pleas

610 Monroe Street, Stroudsburg, PA 18360

Pending

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Business Backer LLC v. Rebel Arms Corp.

2018 CV 04979

Court of Common Pleas, Montgomery County Ohio

Concluded

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  Official Form 207 5:19-bk-01175-RNO Statement            Affairs for Non-Individuals
            Case                         Doc 1of Financial
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Rebel Arms Corp.                                                                11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Thomas Patti                                                100                     President
 67 Mill Creek Road, East Stroudsburg, PA 18301




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ADT Security Services                                   Capital One
PO Box 650485                                           PO Box 30281
Dallas, TX 75265                                        Salt Lake City, UT 84130


Aetna                                                   Chase
PO Box 67103                                            PO Box 15123
Harrisburg, PA 17106                                    Wilmington, DE 19850


Ally Financial                                          Clearant LLC
1185 6th Ave,                                           222 S Central Ave
New York, NY 10036                                      Clayton, MO 63105


American Coradius International, LLC                    Craddock Precision
35A Rust Lane                                           414 S. Grove Street
Boerne, TX 78006                                        Lexington, IL 61753


American Express                                        Credit Collection Services
Global Merchant Services                                725 Canton Street
PO Box 299051                                           Norwood, MA 02062
Fort Lauderdale, FL 33329

                                                        EOTech, Inc.
Axem Distributing Inc.                                  1201 E. Ellsworth
PO Box 1495                                             Ann Arbor, MI 48108
Gallatin, TN 37066-1495

                                                        El Hefe, Inc.
Azimuth Technology                                      6 Tiffany Drive
10130 Market St.                                        Scranton, PA 18505
Naples, FL 34112

                                                        Forward Controls Design
Barclays                                                17104 Palisades Circle
Card Services                                           Pacific Palisades, CA 90272
P.O. Box 8801
Wilmington, DE 19899-8801
                                                        Francisco Marque
                                                        65 Mill Creek Road
Blue Ridge Communications                               East Stroudsburg, PA 18301
PO Box 316
Palmerton, PA 18071
                                                        GSD Coatings
                                                        2 Industrial Dr
Bootleg Inc                                             Suite G
2334 N Welford PL                                       Keyport, NJ 7735
Boise, ID 83704

                                                        Griffin Armament
Business Backer, LLC                                    801 South 12th St
10856 Reed Hartman Highway                              Watertown, WI 53094
Suite 100
Cincinnati, OH 45242
                                                        IPFS Corporation
                                                        30 Montgomery St.
CST Co.                                                 Jersey City, NJ 07302
PO Box 33127
Louisville, KY 40232




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Jane Joseph                                      Patriot Cases
117 Joseph Lane                                  118 Cypress Pointe
East Stroudsburg, PA 18301                       Smithfield, NC 27577


Jason Troxell                                    PayPal Inc.
133 Steele Road                                  2211 North First Street
Plymouth, PA 18651                               San Jose, CA 95131


Jeff Sladkus, Esq.                               Paychex of New York, LLC
444 Madison Avenue,                              1550 Pond Road
6th Floor                                        Suite 302
New York, NY 10022                               Allentown, PA 18104


Jeffrey R. Pfirrman                              Peter Joseph
Graydon Head & Ritchey LLP                       50 Club Court
312 Walnut Street, Suite 1800                    Stroudsburg, PA 18360
Cincinnati, OH 45202

                                                 Primary Weapons Systems, Inc.
Jessup Police Department                         255 N. Steelhead Way
395 Lane St                                      Boise, ID 83704
Jessup, PA 18434

                                                 Progressive
Kenneth Ladlee                                   PO Box 94739
910 Potomac St.                                  Cleveland, OH 44101
Mt. Bethel, PA 18342

                                                 RSR Group, Inc.
Kirk Summa & Company                             4405 Metric Drive
1, Dansbury Terrace                              Winter Park, FL 32792
East Stroudsburg, PA 18301

                                                 Radian Weapons
Michael Pittenger                                875 NE Kingwood Ave
500 East Las Olas Blvd.                          Redmond, OR 97756
Apt 3301
Fort Lauderdale, FL 33301
                                                 RailScales LLC
                                                 PO Box 2845
Mission First Tactical                           Caremore, OK 74018
411 Caredean Dr
Ste. E
Horsham, PA 19044                                SilencerCo LLC
                                                 5511 South 6055 West
                                                 West Valley City, UT 84118
National Revenue Center, TTB
Excise Tax
P.O. Box 979055                                  Streamline Storage
Saint Louis, MO 63197                            166 Progress St.
                                                 East Stroudsburg, PA 18301

PNC Bank
249 Fifth Avenue,                                Stroudsburg Parking Enforcement
One PNC Plaza                                    700 Sarah St.
Pittsburgh, PA 15222                             Stroudsburg, PA 18360




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Sweetwater Police Department
500 SW 109th Ave
Miami, FL 33174


The Armory
818 Interchange Rd.
Kresgeville, PA 18333


The Receivable Management Services LLC
PO Box 361348
Columbus, OH 43236


Thomas Patti
67 Mill Creek Road
East Stroudsburg, PA 18301


Thomas Patti
67 Mill Creek
East Stroudsburg, PA 18301


Thomas Patti
67 Mill Creek Road
East Stroudsburg
PA 18301


UPS
55 Glenlake Parkway NE
Atlanta, GA 30328


Various Customers who paid for and did not re
Customer list to be provided and Schedul


Verizon
PO Box 489
Newark, NJ 07101


Verizon PA
PO Box 28000
Lehigh Valley, PA 18002


Weapon Works LLC
1833 Anthony Road
Suite A
Burlington, NC 27215




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                             United States Bankruptcy Court
                             Middle District of Pennsylvania




         Rebel Arms Corp.
In re:                                                         Case No.

                                                               Chapter    11
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              03/25/2019                        /s/ Thomas Patti
Date:
                                                Signature of Individual signing on behalf of debtor

                                                President
                                                Position or relationship to debtor




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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                            Middle District of Pennsylvania
                                               __________________________________
     In re   Rebel Arms Corp.

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         7,000.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         300.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)        Peter Joseph


    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       03/25/2019                        /s/ Patrick Best, 309732
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         ARM Lawyers
                                        _________________________________________
                                            ​Name of law firm
                                         18 N. 8th St.
                                         Stroudsburg, PA 18360
                                         patrick@armlawyers.com




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